DOCUMENTS UNDER SEAL
                     Case 5:21-mj-70785-MAG Document 9 Filed 06/23/21 Page 13ofmins.
                                                          TOTAL TIME (m ins):
                                                                                1
M AGISTRATE JUDGE                           DEPUTY CLERK                              R(&25'(',1=220
M INUTE ORDER                              Ivy Lerma Garcia                           2:08-2:11
MAGISTRATE JUDGE                            DATE                                      NEW CASE          CASE NUMBER
DONNA M. RYU                               6/23/21                                                     5:21-mj-70785-MAG
                                                       APPEARANCES
DEFENDANT                                   AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.      RET.
CHANDLER TYLER OCHOA (by Video)                      NO    P    Severa Keith (Prov. Apptd. 4/4/19)            APPT.
U.S. ATTORNEY                               INTERPRETER                             FIN. AFFT               COUNSEL APPT'D
Jeffrey Backhus                                                                     SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR               PARTIAL PAYMENT
                              Ana Mendoza                             APPT'D COUNSEL                 OF CJA FEES
                         PROCEEDINGS SCHEDULED TO OCCUR%<=2209,'(2&21)(5(1&(
       INITIAL APPEAR         67$7865(35(/,0     MOTION       JUGM'T & SENTG                                 STATUS
                          +5*$55$,*1+(/'PLQV                                                             TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT         BOND HEARING IA REV PROB. or                                OTHER
                                                                  or S/R
       DETENTION HRG               ID / REMOV HRG          CHANGE PLEA               PROB. REVOC.                ATTY APPT
                                                                                                                 HEARING
                                                      INITIAL APPEARANCE
        ADVISED                  ADVISED                   NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON                READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                  SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY          SPECIAL NOTES                 PASSPORT
      ON O/R              APPEARANCE BOND           $                                                      SURRENDERED
                                                                                                            DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                  DETAINED         RELEASED         DETENTION HEARING               REMANDED
      FOR             SERVICES                                                    AND FORMAL FINDINGS             TO CUSTODY
      DETENTION       REPORT                                                      W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                      NOT GUILTY                 GUILTY                     GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                  CHANGE OF PLEA             PLEA AGREEMENT             OTHER:
    REPORT ORDERED                                          FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                     STATUS RE:                 STATUS
7/27/21                           HEARING                  HEARING                  CONSENT                    TRIAL SET

AT:                               SUBMIT FINAN.               67$7865(           CHANGE OF                  OTHER
                                  AFFIDAVIT                   35(/,0+5*         PLEA
1:00 p.m.                                                     $55$,*10(17
                                                              BBBBBBBBBBBBB
BEFORE HON.                       DETENTION                   $55$,*1MENT            MOTIONS                   JUDGMENT &
                                  HEARING                                                                      SENTENCING
S. van Keulen
       TIME WAIVED              TIME EXCLUDABLE      IDENTITY /                   PRETRIAL                   PROB/SUP REV.
       5(58/(              UNDER 18 § USC      REMOVAL                      CONFERENCE                 HEARING
                                  3161)520   HEARING
                                  72
                                               ADDITIONAL PROCEEDINGS
Deft. waived his personal appear. & consented to proceed by video conf. All parties appeared by Zoom video conf. Parties are
still in the process of having some addt'l. discovery to be produced to the Deft. Parties to submit a Stip. & Order re: exclusion
of time. cc: Justine
